     Case 1:10-cv-06950-AT-RWL Document 1397 Filed 01/03/23 Page 1 of 1


                                                              USDC SDNY
UNITED STATES DISTRICT COURT                                  DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                 ELECTRONICALLY FILED
H. CRISTINA CHEN-OSTER, LISA PARISI, SHANNA                   DOC #: _________________
ORLICH, ALLISON GAMBA, and MARY DE LUIS,                      DATE FILED: 1/3/2023

                            Plaintiffs,

             -against-                                            10 Civ. 6950 (AT)

GOLDMAN, SACHS & CO. and THE GOLDMAN                                  ORDER
SACHS GROUP, INC.,

                        Defendants.
ANALISA TORRES, District Judge:

       The trial scheduled for June 5, 2023, is ADJOURNED to June 6, 2023, at 9:00 a.m. in
Courtroom 15D of the United States Courthouse, 500 Pearl Street, New York, New York 10007.

      SO ORDERED.

Dated: January 3, 2023
       New York, New York
